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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Criminal Case No. 16-cr-054-WJM

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1.      HEATHER CARR,
2.      TRAMMEL THOMAS,
3.      MERCEDES DIAZ,

        Defendants.


                               ORDER ON PROCEDURES


        THIS MATTER comes before the Court sua sponte. It is the Court’s experience

that multi-Defendant criminal cases often present unusual and significant administrative

challenges for both counsel and the Court. In an attem pt to preemptively alleviate

some of those burdens, and to expressly advise counsel of procedures that the Court

will follow,

        IT IS ORDERED that:

        (1)     All documents filed by any party in this case shall bear the complete case

caption. If a document pertains only to a particular Defendant or Defendants, the name

of such Defendant or Defendants shall be in bold print on the caption. The caption is

deemed amended and the name of a Defendant may be removed therefrom upon the

sentencing of any particular Defendant.
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       (2)    If a Defendant files a Notice of Disposition, that Defendant and his or her

counsel are excused from participating in all subsequent hearings except for hearings

which pertain to that Defendant, e.g., change of plea and sentencing hearings.

       (3)    If counsel for a Defendant is unable to attend a hearing, that Defendant

may file a motion to allow substitute counsel to represent him or her at such hearing.

Such motion must be filed before said hearing and must be accompanied by a

statement that the Defendant consents to representation by substitute counsel at the

particular hearing.

       (4)    Any Defendant who has not filed a Notice of Disposition shall attend all

scheduled hearings (apart from changes of plea or sentencing hearings for co-

Defendants who have filed Notices of Disposition) with his or her counsel. If any

Defendant or defense counsel desires to waive his or her appearance at any hearing,

an appropriate motion shall be filed no later than 2 business days prior to the

hearing.

       (5)    With regard to any Defendant who is not in custody, a motion seeking

leave to allow the Defendant to travel shall be filed at least 5 business days before the

requested travel date. No such motion will be granted unless the Office of Pretrial

Services is in agreement and either (a) the Government files written assent to the travel

at least 2 business days before the requested travel date or (b) the motion is stipulated.

       (6)    In accordance with D.C.COLO.LCrR 12.1, the Court will not accept a

“Motion to Join” in a motion filed by another party. Instead, the Defendant should file a

motion that requests specific relief and includes a title that identifies the relief



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requested. In the body of the motion, the party may indicate that the party approves,

adopts, or may incorporate by reference any or all of the reasons stated, arguments

advanced, and/or authorities cited by a party in another motion. The party shall identify

the related motion of another party by providing at least the following information: (1)

the name of the other party; (2) the precise title of the motion filed by the other party; (3)

the document number assigned to the other motion by the court’s CM/ECF docketing

system; and (4) the date the other motion was filed.

       (7)    In accordance with WJM Revised Practice Standard IX.H, counsel are

strongly encouraged, to the fullest extent possible given the similarity of the facts and

legal positions between or among each other, to file joint motions on all issues and

matters of common ground or interest.

       (8)    Counsel should carefully review the current version of the undersigned’s

Revised Practice Standards. The Court will strictly enforce compliance therewith.

Please be aware of the Court’s specific procedures on the following points:

              (a)    Severance: Although the general motions deadline governs the

filing of motions to sever, please be advised that the Court will not typically rule on

motions seeking severance until the time of the Final Trial Preparation Conference, at

which point the contours of the case to be tried have become clearer.

              (b)    James proffers: The Court does not typically conduct hearings on

requests for James determinations of the admissibility of co-conspirator statements.

When a James issue is raised, the Government is required to make a written proffer

containing: (i) identification of the facts showing the existence, composition, scope, and

object of the conspiracy; and (ii) a specific identification of each statement that is to be

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offered, its declarant, and an explanation as to how that statement is admissible under

Fed. R. Evid. 801(d)(2). This proffer is made on a form available from Chambers. The

form also includes a place for each Defendant to note those statements to which he or

she objects and a place to state the nature of such objection. Upon its review of a

completed proffer, the Court will usually issue a written ruling either: (i) finding the

proffer to be prima facie adequate to permit the admission of the co-conspirator

testimony under Rule 801(d)(2), subject to the Government establishing the necessary

foundational facts at trial; or (ii) finding that specific statements are inadmissible under

Rule 801(d)(2).


       Dated this 1st day of April, 2016.

                                                   BY THE COURT:



                                                   _______________________
                                                   William J. Martínez
                                                   United States District Judge




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